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9    UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No.   ED CR-15-00093-JGB

13              Plaintiff,
                                              NOTICE OF APPEARANCE
14                    v.

15   ENRIQUE MARQUEZ, Jr.,

16              Defendants.

17

18         Plaintiff, by and through his attorney, the United States
19   Attorney for the Central District of California, hereby advises the
20   Court that the above-captioned case has been assigned to a new
21   Assistant United States Attorney (“AUSA”) as follows:
22                         Name                         E-mail Address
23     Assigned AUSA:      Julius J. Nam                julius.nam@usdoj.gov
24

25   Please make all necessary changes to the Court’s Case

26   Management/Electronic Case Filing system to ensure that the newly-

27   assigned AUSA’s name is associated with this case as attorney of

28   record for the Plaintiff and that the AUSA receives all emails
     Case 5:15-cr-00093-JGB Document 156 Filed 05/22/19 Page 2 of 2 Page ID #:1066



1    relating to filings in this case.

2     Dated: May 22, 2019                   Respectfully submitted,

3                                           NICOLA T. HANNA
                                            United States Attorney
4
                                            JOSEPH B. WIDMAN
5                                           Assistant United States Attorney
                                            Chief, Riverside Branch Office
6
                                                        /S/
7
                                            JULIUS J. NAM
8                                           Assistant U.S. Attorney
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9                                           UNITED STATES OF AMERICA

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